          Case 1:15-cv-00176-RP Document 5 Filed 05/05/15 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

KEITH A. DZIERZANOWSKI and                         §
HOLLY M. DZIERZANOWSKI                             §
     Plaintiffs                                    §
                                                   §
VS.                                                § CIVIL ACTION NO. 1:15-CV-176-RP
                                                   §
                                                   §
STATE FARM LLOYDS                                  §
     Defendant.                                    §                           JURY

                                NOTICE OF SETTLEMENT



TO THE HONORABLE JUDGE ROBERT L. PITMAN:
       The parties have reached a resolution of this case without the need for Court action at this
time. Settlement documents are being prepared and circulated. The parties anticipate having a
Joint Motion to Dismiss prepared no later than May 30, 2015.


                                                 Respectfully submitted,

                                                 WRIGHT & GREENHILL, P.C.
                                                 221 West 6th Street, Suite 1800
                                                 Austin, Texas 78701
                                                 512/476-4600
                                                 512/476-5382 (Fax)




                                                 By:
                                                       Richard W. South
                                                       State Bar No. 18863175
                                                       rsouth@w-g.com

                                                   ATTORNEYS FOR DEFENDANT
           Case 1:15-cv-00176-RP Document 5 Filed 05/05/15 Page 2 of 2




                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of Defendant State Farm Lloyds’ Notice of
Settlement has been forwarded via facsimile on this the 5th day of May, 2015 to:

David C. Wenholz
The Wenholz Law Firm, PLLC
13501 Galleria Circle
Suite W270
Bee Cave, Texas 78738
(512) 478-2211
(512) 478-3625 FAX




                                                   Richard W. South




                                               2
